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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

In re:                                                      Chapter 11

LORDSTOWN MOTORS CORP., et al.,1                            Case No. 23-10831 (MFW)

                        Debtors.                            (Jointly Administered)

                                                            Obj. Deadline: March 5, 2024 at 4:00 p.m. (ET)

    SUMMARY OF THIRD MONTHLY APPLICATION OF M3 ADVISORY PARTNERS,
         LP, AS FINANCIAL ADVISOR TO THE OFFICIAL COMMITTEE OF
       EQUITY SECURITY HOLDERS, FOR ALLOWANCE OF COMPENSATION
          AND REIMBURSEMENT OF EXPENSES FOR THE PERIOD FROM
                NOVEMBER 1, 2023 THROUGH NOVEMBER 30, 2023


    Name of Applicant:                                 M3 Advisory Partners, LP

    Authorized to provide professional                 Official Committee of Equity Security Holders
    services to:                                       Lordstown Motors Corp., et al.

    Date of retention order:                           October 16, 2023 nunc pro tunc to September 7, 2023

    Period for which compensation and
    reimbursement sought:                              November 1, 2023 through November 31, 2023

    Compensation sought as actual,
    reasonable, and necessary:                         $109,363.60 (80% of $136,704.50)

    Expense reimbursement sought as actual,
    reasonable, and necessary:                         $7,803.44

    This is a(n):     X monthly            interim           final




1
 The Debtors and the last four digits of their respective taxpayer identification numbers are: Lordstown Motors Corp.
(3239); Lordstown EV Corporation (2250); and Lordstown EV Sales LLC (9101). The Debtors’ service address is
27000 Hills Tech Ct., Farmington Hills, MI 48331.
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Prior applications:


    Application             Docket No.             Period Covered         Requested Fees Approved Fees
                                                                         (80%) / Expenses (80%) / Expenses
                                                                             (100%)           (100%)

    First Monthly                686              9/07/2023 – 9/30/2023 $254,640.00 / $378.66 $254,640.00 / $378.66

   Second Monthly                787             10/01/2023 – 10/31/2023 $187,001.60 / $346.19 $187,001.60 / $346.19




                    MONTHLY COMPENSATION BY PROJECT CATEGORY

                           Project Category                                  Total Hours           Total Fees

  Plan of Reorganization/Disclosure Statement                                           31.4           $30,710.00

  General Correspondence with Debtor & Debtors' Professionals                           10.3              8,162.50

  Financial & Operational Matters                                                       34.7            24,382.00

  General Correspondence with Other Professionals                                       11.1              8,325.00

  Financing Matters (Cash Budget, Exit, Other)                                          29.1            16,005.00

  Investigations and Litigation Support                                                  2.8              2,860.00

  Claims/Liabilities Subject to Compromise                                              12.5            11,197.50

  Fee Application                                                                       33.1            21,027.50

  Employee Matters                                                                      14.5            14,035.00
  TOTAL                                                                                179.4          $136,704.50




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                     MONTHLY COMPENSATION BY INDIVIDUAL
 Name of Professional     Position of the      Hourly        Total    Total Compensation
        Person               Applicant         Billing       Billed
                                               Rate          Hours

Winning, Robert         Managing Director        $1,150        49.3             $56,695.00
Bauck, Lyle             Managing Director         1,150         7.6               8,740.00
Gallagher, William      Managing Director         1,150         2.3               2,587.50
Boffi, Jonathan         Director                      945       5.1               4,819.50
Lo, Anthony             Vice President                750       2.7               1,987.50
Altman, Matthew         Associate                     550     112.5              61,875.00
Grand Total:                                                  179.4            $136,704.50




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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

In re:                                                      Chapter 11

LORDSTOWN MOTORS CORP., et al.,3                            Case No. 23-10831 (MFW)

                        Debtors.                            (Jointly Administered)

                                                            Obj. Deadline: March 5, 2024 at 4:00 p.m. (ET)

       THIRD MONTHLY APPLICATION OF M3 ADVISORY PARTNERS, LP, AS
    FINANCIAL ADVISOR TO THE OFFICIAL COMMITTEE OF EQUITY SECURITY
    HOLDERS, FOR ALLOWANCE OF COMPENSATION AND REIMBURSEMENT OF
                     EXPENSES FOR THE PERIOD FROM
               NOVEMBER 1, 2023 THROUGH NOVEMBER 30, 2023

         M3 Advisory Partners, LP (“M3 Partners”), Financial Advisor to the Official Committee

of Equity Security Holders (the “Committee”) of Lordstown Motors Corp. and the above-

captioned debtors (the “Debtors”), hereby submits its monthly fee application (the “Application”)

for entry of an order pursuant to section 331 of title 11 of the United States Code, 11 U.S.C. §§101

et seq, as amended (the “Bankruptcy Code”) granting interim compensation in the amount of

$109,363.60 (80% of $136,704.50) and reimbursement of expenses in the amount $7,803.44 for

the period from November 1, 2023 through November 30, 2023 (the “Compensation Period”), and

in support thereof, M3 Partners respectfully represents as follows:

                                      JURISDICTION AND VENUE

         1.       This Court has jurisdiction over this Application pursuant to 28 U.S.C. §1334. This

is a core proceeding pursuant to 28 U.S.C. §157(b)(2)(A) and (B).

         2.       Venue of this proceeding and this Application is proper in this District pursuant to

28 U.S.C. §§1408 and 1409.


3
 The Debtors and the last four digits of their respective taxpayer identification numbers are: Lordstown Motors Corp.
(3239); Lordstown EV Corporation (2250); and Lordstown EV Sales LLC (9101). The Debtors’ service address is
27000 Hills Tech Ct., Farmington Hills, MI 48331.




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        3.       The statutory predicate for the relief sought herein is sections 1103 and 331 of the

Bankruptcy Code.

                                             BACKGROUND

        4.       On June 27, 2023, (the “Petition Date”), the Debtors filed voluntary petitions for

relief under chapter 11 of the Bankruptcy Code (collectively the “Chapter 11 Cases”). The Chapter

11 Cases are being jointly administered for procedural purposes only pursuant to Bankruptcy Rule

1015(b).

        5.       The Debtors have continued in the possession of its property and have continued to

operate and manage its business as Debtors in possession pursuant to sections 1107(a) and 1108

of the Bankruptcy Code. No trustee or examiner has been appointed in the Chapter 11 Cases.

        6.       On July 13, 2023, the Debtors filed the Debtors’ Motion for Entry of an Order

Establishing Procedures for Interim Compensation and Reimbursement of Expenses for Chapter

11 Professionals and Committee Members (the “Interim Compensation Motion”) [Docket No.

111], and on July 25, 2023, the Court entered an Order approving the Interim Compensation

Motion (the “Interim Compensation Order”) [Docket No. 181].

        7.       On September 7, 2023, the United States Trustee for the District of Delaware (the

“United States Trustee”) filed its notice of appointment of the Committee pursuant to section

1102(a)(1) of the Bankruptcy Code;4 on September 7, 2023, the Committee selected Brown

Rudnick LLP (“Brown Rudnick”) as its general bankruptcy counsel, and M3 Partners as its

Financial Advisor.

        8.       On September 27, 2023, the Committee filed the Application for Entry of an Order

Authorizing the Retention and Employment of M3 Advisory Partners, LP as Financial Advisor to


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 The Equity Committee members are the following: (1) Crestline Management, L.P.; (2) Pertento Partners LLP; and
(3) Esopus Creek Value Series Fund LP – Series “A”.




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the Official Committee of Equity Security Holders Nunc Pro Tunc to September 7, 2023 (the

“Retention Application”) [Docket No. 479]. On November 16, 2023, the Court entered an order

approving the Retention Application, Nunc Pro Tunc to September 7, 2023 [Docket No. 559].

                           SUMMARY OF SERVICES RENDERED

       9.        Time entries detailing the fees incurred during the Compensation Period, by

professional and by category, including a full and detailed statement describing the services

rendered during the Compensation Period, by each professional are attached as Exhibit A.

       10.       The total sum due to M3 Partners for professional services rendered on behalf of

the Committee during the Compensation Period is $136,704.50, which services were reasonable

and necessary.

Plan of Reorganization/Disclosure Statement – ($30,710.00)

       11.       During the Fee Period, M3 Partners performed various workstreams related to the

Debtor’s Chapter 11 plan and disclosure statement. Among other things, M3 Partners analyzed the

Debtors’ plan and disclosure statement and worked with Committee counsel to provide comments

to the various iterations and effects of the plan.

General Correspondence with Debtor & Debtors' Professionals – ($8,162.50)

       12.       During the Fee Period, M3 Partners corresponded regularly with the Debtors and

their professionals on items related to the progress of the chapter 11 cases, comparing actual

performance versus the budget, and discussing various diligence requests.

Financial & Operational Matters – ($24,382.00)

       13.       During the Fee Period, M3 Partners analyzed various items related to the Debtors’

finances and operations. Among other things, M3 Partners prepared recovery analyses, analyzed

postpetition activities, and reviewed financial information provided by the Debtors.




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General Correspondence with Other Professionals – ($8,325.00)

       14.      During the Fee Period, M3 Partners corresponded regularly with the Committee

and its counsel regarding various workstreams, including matters related to the asset waterfall, the

Debtors’ chapter 11 plan and related disclosure statement, and the Debtors’ financial projections.

Financing Matters (Cash Budget, Exit, Other) – ($16,005.00)

       15.      During the Fee Period, M3 Partners examined the Debtors’ cash flows, reviewed

budgets and variance reports from the Debtors’ professionals, and worked alongside counsel to the

Committee to analyze financial data.

Claims/Liabilities Subject to Compromise – ($11,197.50)

       16.      During the Fee Period, M3 Partners attended to matters regarding the unsecured

claims pool.

Fee Application – ($21,027.50)

       17.      During the fee period, M3 prepared a fee application for the periods

ending September and October 2023.

Employee Matters – ($14,035.00)

       18.      During the fee period, M3 worked alongside the Debtors and Committee Counsel

to analyze contractual obligations to employees in these chapter 11 cases.

                                                Expenses

       19.      M3 Partners incurred $7,803.44 in expenses during the Compensation Period. A

chart detailing the specific expenses is attached hereto as Exhibit B. The expenses for which M3

Partners seeks approval in this application includes $7,600.00 for Next Chapter Associates, a

consultant with unique expertise in insurance matters. M3 Partners has not included a mark-up on

this expense.




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                                              Certification

         20.    The undersigned hereby attests that he has reviewed the requirements of Local Rule

2016-1 and this Application conforms to such requirements, including that travel time was not

billed at more than half rate and copying charges were only $.10 per page

         21.    WHEREFORE, M3 Partners hereby requests pursuant to the procedures allowed in

the Interim Compensation Order: payment in the amount of $109,363.60, representing eighty

percent (80%) of the total fees billed ($136,704.50) and 100% of the total expenses incurred

($7,803.44) during the Fee Period for a total of $144,507.94.

    Dated: February 14, 2024                    M3 ADVISORY PARTNERS, LP

                                                /s/ Robert Winning
                                                Robert Winning
                                                Managing Director, M3 Advisory Partners, LP




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